     Case 4:15-cv-01062-MWB Document 204 Filed 11/05/20 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BRIAN BOLUS, et al.,                               No. 4:15-CV-01062

            Plaintiffs,                            (Judge Brann)

      v.

AMY CARNICELLA, et al.,

           Defendants.

                                    ORDER

     AND NOW, this 5th day of November 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.    Plaintiffs’ Motion to Compel Discovery, Doc. 120, is GRANTED.

     2.    The production of the 283 documents at issue in the motion at hand,

           and currently in Defendants’ possession, shall be produced to

           Plaintiffs within fourteen (14) days of the date of this Order.


                                            BY THE COURT:


                                            s/ Matthew W. Brann
                                            Matthew W. Brann
                                            United States District Judge
